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Filed 11/19/15 PagelD.1.__Page.1 of 2

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UNITED STATES DISTRICT COURT NOV 19 2075
SOUTHERN DISTRICT OF CALIFORNIA} ,., 2% Stk EET COURT
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UNITED STATES OF AMERICA, _ )
oe ) Magistrate Case No.__“1) MJ 3 4 24
Plaintiff, ) ~
) COMPLAINT FOR VIOLATION OF
v. )
) Title 8, U.S.C., Section
Gilberto PEREZ IIL, )  1324(a)(2)\(B)Giii)-
) Bringin in Unlawful Alien(s)
Defendant. ) Without Presentation
) :

The undersigned complainant, being duly sworn, states:

On or about November 18, 2015, within the Southern District of California,
the Defendant, Gilberto PEREZ III, with the intent to violate the immigration laws.of
the United States, knowingly and in reckless disregard of the fact that alien, namely,
B.E.L, has not received prior official authorization to come to, enter and reside in the
United States, did bring to the United States said alien, and upon arrival did not bring
and present said alien immediately to an appropriate immigration officer at a
designated port of entry; in violation of Title 8, United States Code, Section

1324(a)(2\(B)(iii).

And the complainant further states that this complaint is based on the attached
statement of facts which is incorporated yO by reference.

ae Lt OF COMPLAINANT
Victor Renteria,CBP Officer
U.S. Customs and Border Protection

Sworn to before me and subscribed in my presence, this 19° day of November, 2015.

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UNITED STATES MAGISTRATE JUDGE

Case 3:15-cr-03117-H Document1 Filed 11/19/15 PagelD.2 Page 2 of 2

PROBABLE CAUSE STATEMENT

The complainant states that B.E.L is a citizen of a country other than the United
States; that said alien has admitted he is deportable; that his testimony is material,
that it is impractical to secure his attendance at trial by subpoena; and that he is a
material witness in relation to this charge and should be held or admitted to bail as
prescribed in Title 18, United States Code, Section 3144.

On November 18, 2015, at approximately 4:16 A.M., Gilberto PEREZ III
(Defendant) applied for admission into the United States from Mexico via the San
Ysidro, California Port of Entry driving a 2013 Chevrolet Impala bearing
California plates. Upon inspection before a United States Customs and Border
Protection (CBP) Officer, Defendant presented his California driver’s license and
said he had nothing to declare from Mexico. Defendant stated he was going to San
Diego, California. The CBP Officer elected to refer Defendant and the vehicle to
secondary inspection.

While driving to secondary, Defendant attempted to evade secondary inspection by
driving onto the northbound egress lanes going towards Interstate I-5. When
Defendant was stopped by CBP Officers, he refused to exit vehicle and became
combative using the vehicle door as a barricade. After Defendant was secured,
CBP Officers escorted him to the Security Office and the vehicle was driven to the
secondary inspection lot where a non-factory compartment containing one person
was discovered. The person, later identified as B.E.L., was found to be a citizen of
Mexico without lawful documents to enter or reside in the United States and was
held as a Material Witness.

During a video recorded interview, Material Witness admitted he is a citizen of
Mexico without documents to enter or reside in the United States. Material Witness
stated his sister made the smuggling arrangements with unknown people in Mexico.
He said his family agreed to pay an unknown amount of money for him to enter the
United States and said he was going to Santa Maria, California.
